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                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF NEW YORK

            MYANMAR ASIAN INC.,                     )
                                                    )
                             Plaintiff,             )
               v.                                   )      Index No.: 1:20-cv-765 (GTS/CFH)
                                                    )
            UNITED STATES OF AMERICA,               )
            DEPARTMENT OF AGRICULTURE               )
            FOOD AND NUTRITION SERVICE              )
                                                    )
                             Defendant.             )

       COMPLAINT & PETITION FOR REVIEW OF FINAL AGENCY ACTION

       NOW COMES the Plaintiff, Myanmar Asian Inc., by and through its attorney, Eric K.

Schillinger, and hereby petitions this Honorable Court to review the Final Agency Decision,

entered by the United States Department of Agriculture, and in support thereof, states the

following:

                                          PARTIES

       1.      Plaintiff, Myanmar Asian Inc., is a New York corporation owned by Wah Say, who

resides in Rensselaer, New York and has operated a grocery store under the corporate name

Myanmar Asian, Inc. since 2014. Myanmar Asian, Inc. is located at 1100 Broadway, Rensselaer

New York 12144-1918.

       2.      Defendant, the United States of America Department of Agriculture Food and

Nutrition Service (“USDA” and “FNS”), is an agency of the executive branch of the United States

government.

                               DEMAND FOR JURY TRIAL

       3.      Myanmar Asian Inc. demands that all issues be tried by a jury.
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                                        JURISDICTION

        4.      Plaintiff brings this action pursuant to 7 U.S.C. § 2023(a)(13) as a result of the

Defendant’s Final Agency Decision dated June 9, 2020 permanently disqualifying Plaintiff from

participating as an authorized retailer in the Supplemental Nutrition Assistance Program (SNAP)

in administrative case number C0226889.

        5.      This Court has jurisdiction over this mater pursuant to 7 U.S.C. § 2023(a)(13), 5

U.S.C. § 702, and 28 U.S.C. § 1331.

        6.      This Court is the appropriate venue, pursuant to 7 U.S.C. § 2023(a)(13) and 28

U.S.C. § 1402 because Myanmar Asian Inc. is engaged in business, and has its principal place of

business, in this district.

                                   STANDARD OF REVIEW

        7.      Pursuant to 7 U.S.C. § 2023(a)(15), this action shall be a trial de novo in which the

Court “shall determine the validity of the questioned administrative action in issue.”

                                   PROCEDURAL HISTORY

        8.      In a letter dated February 26, 2020, the Retailer Operations Division of FNS

charged Myanmar Asian Inc. with SNAP benefit trafficking between October 2019 and January

2020.

        9.      FNS asserted two patterns of violations: 1) that “multiple [EBT] transactions were

made from the accounts of individual SNAP households within a set time period”; 2) that the

“store conducted EBT transactions that are large [sic] based on the observed store characteristics

and recorded food stock”.

        10.     At all times, Myanmar Asian Inc. has disputed these charges.

        11.     On March 10, 2020, Myanmar Asian Inc. received a letter in which the FNS
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Retailer Operations Division informed Myanmar Asian Inc. that it had made a final determination

to permanently disqualify the store from participating in SNAP.

         12.   In a letter dated April 17, 2020, Myanmar Asian Inc., through counsel, requested

administrative review, which FNS granted.

         13.   In a letter dated June 9, 2020 and received via electronic mail sent to counsel on

June 10, 2020, FNS issued its “Final Agency Decision,” affirming FNS’s decision to permanently

disqualify Myanmar Asian Inc. from SNAP.

                                                  FACTS

         14.   Wah Say has owned Myanmar Asian Inc. for approximately six years. He operates

the store with family members. Mr. Say is present at the store during the entirety of its business

hours.

         15.   Prior to March 10, 2020, Myanmar Asian Inc. was an authorized retail participant

in SNAP.

         16.   Mr. Say is from Myanmar. He immigrated to the United States in 2008 and is a

lawful permanent resident. Mr. Say is involved in a large community of Burmese refugees who

immigrated to the United States and Upstate New York specifically.

         17.   Myanmar Asian Inc. is located in the small city of Rensselaer New York, within

the general area of the New York State Capital District. The store occupies the ground floor of a

two-story building in a neighborhood multi-use and diverse neighborhood where many potential

customers live within close walking distance of the store.

         18.   The store area includes shelves stocked with food and household goods, a checkout

area with a cash register and a SNAP point-of-sale machine.

         19.   In addition to the typical fair of a local grocery store - deli meats and cheeses, baby
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formula, cereal, milk, canned foods, and soft drinks, Myanmar Asian Inc. also sells a large supply

of specialty foods typically used in Burmese cooking.

        20.     Upon information and belief, Myanmar Asian Inc. customers, come from two

primary groups - local residents predominantly from the immediate neighborhood of the store,

and Burmese immigrants living in the Upstate New York more generally, who shop at Myanmar

Asian Inc. to acquire unique Burmese products not widely available elsewhere.

        21.     Upon information and belief, a significant percentage of Myanmar Asian Inc.

customers frequent the store on a weekly or even daily basis. These customers mostly purchase

the traditional “American” grocery items for sale in the store. Some regular customers routinely

visit the store more than once on any given day. This is not unusual because many of the customers

live very close to the store and buy only what they can carry to their nearby homes.

        22.     Upon information and belief, the second significant portion of Myanmar Asian

Inc. customers shop at the store to purchase Burmese specialty foods not readily available, even

in some larger “Asian Supermarkets”. While some of these customers live close to the store,

many of them do not. As a result, they travel to the store and sometimes buy larger volumes of

items in one visit.

        23.     Upon information and belief, FNS’s Final Agency Decision was supported by an

invalid audit of electronic data that it gathered from the EBT system. All of the arguments that

FNS raised were based on a perfunctory statistical analysis of EBT sales records; FNS provided

no evidence that tied its data to any actual wrongdoing by Myanmar Asian Inc. Although the

Administrative Decision noted a large stock of canned and packaged Asian foods for sale at

Myanmar Asian Inc., the statistical analysis did not consider the unique nature of Myanmar Asian

Inc.’s inventory.
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        24.     Upon information and belief, no person has ever informed Myanmar Asian Inc.

that he or she witnessed or participated in any controlled trafficking transactions at Myanmar

Asian Inc.

        25.     Upon information and belief, Myanmar Asian Inc. has never engaged in trafficking

SNAP benefits; the store’s owner, Wah Say, has never engaged in any SNAP trafficking

transactions.

        26.     While Myanmar Asian Inc. contests in whole the Defendant’s determination that

it trafficked SNAP benefits, it additionally specifically contests the Defendant’s determination

that Plaintiff’s disqualification as a SNAP Authorized Retailer must be permanent. Defendant

erred in both its finding of trafficking and its finding that the necessary penalty was permanent

disqualification of Myanmar Asian Inc. as a SNAP Authorized retailer.

        27.     Under the Food Stamp Act, FNS is not entitled to deference with regard to its

pseudo-evidentiary and non-trial procedure, or its decisions during the administrative review

process. 7 U.S.C. § 2023(a)(15).

        28.     Permanent disqualification from SNAP will have crippling economic

consequences to Myanmar Asian Inc. because a large segment of its customer base depends on

SNAP benefits. Myanmar Asian Inc. can no longer serve these customers.

29.     Therefore, Myanmar Asian Inc. will suffer irreparable injury from its disqualification from

SNAP.

        30.     In anticipation of the Defendant’s Motion for Summary Judgment, the attached

Rule 56(d) Affidavit seeks further discovery to obtain information about the individuals who

supposedly engaged in the alleged trafficking transactions. The government has exclusive control

of this information, and its assertions rely on assumptions about these individual consumers, who
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have not had the opportunity to speak for themselves.

                                  REQUESTS FOR RELIEF

       WHEREFORE, Myanmar Asian Inc. requests that this Court grant the following relief:

       A.      A de novo trial so that this Court can determine the validity of FNS’s final

administrative action;

       B.      An order temporarily staying FNS’s final administrative action during the

pendency of this action;

       C.      A judgment and order that FNS’s final administrative action is invalid and that

reverses that action;

       D.      An order awarding Myanmar Asian Inc. reasonable attorney’s fees; and

       E.      Any other relief that this Court deems appropriate.



Respectfully submitted,
                                                            /s/ Eric K. Schillinger___________
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                                                            Myanmar Asian Inc.
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                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF NEW YORK

         MYANMAR ASIAN INC.,                         )
                                                     )      USDA FILE NO. C0226899
                              Plaintiff,             )
               v.                                    )      Index No.:
                                                     )
         UNITED STATES OF AMERICA,                   )
         DEPARTMENT OF AGRICULTURE                   )
         FOOD AND NUTRITION SERVICE                  )
                                                     )
                              Defendant.             )

                          AFFIDAVIT OF ERIC K. SCHILLINGER

       Pursuant to Fed. R. P. 56(d), Eric K. Schillinger, the attorney for Myanmar Asian Inc.,

makes the following declarations in support of Plaintiff’s Complaint and Petition for Review

of Final Agency Action:

       1.      I am over 18 years of age, am competent to testify, and have knowledge of

the facts and other matters contained in this declaration. This Affidavit is made in part on

information and belief, the sources of said information are your deponent’s conversations with the

Wah Say, the owner of Plaintiff, other witnesses, a review of your deponent’s file on the matter, a

review of all the papers presently before the Court, and your deponent’s own investigation into the

facts and circumstances of this case.

       2.      I am the attorney representing plaintiff Myanmar Asian Inc. in the above-

captioned action.

       3.      Myanmar Asian Inc. is unable to access critical information that is in the

exclusive control of Defendant, the United States of America ("Government"). This Court

has not yet set a scheduling order and has not yet permitted discovery. Therefore,
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Myanmar Asian Inc. has had no means of requesting or securing information from the

Government.

       4.     Myanmar Asian Inc. needs discovery to oppose the Government's Expected

Motion for Summary Judgment. Specifically, Myanmar Asian Inc. needs to know the

identities of the households and people involved in the alleged suspicious transactions that

the Government has identified as its basis for disqualifying Myanmar Asian Inc. from

participating in SNAP. In documents and letters that the Government has sent to Myanmar

Asian Inc., these households are identified only by long strings of partially redacted numbers.

The affidavits or live testimony of these people could be persuasive exculpatory evidence.

This information is especially crucial because the Government’s case is based on its

assumptions about the shopping behavior of these people.

       5.     Myanmar Asian Inc. also needs the complete set of Electronic Benefit

Transfer ("EBT") transaction data that the Government recorded from its store during the

period between October 2019 and January 2020. Without this data set, Myanmar Asian Inc.

cannot fully show the flaws in the Government's statistical analysis. Moreover, Myanmar

Asian Inc.'s inability to conduct its own analysis of this complete data set allows the

Government to single out only those data points that support its case; this prejudices

Myanmar Asian Inc. because it has few methods to rebut these data points without access

to the full data set. Moreover, if the Government is confident enough to disqualify Myanmar

Asian Inc. from SNAP - thus irreparably injuring its ability to operate and its reputation in

the community - on the strength of its EBT transaction data, it can argue no reasonable

objection to producing that data set.

       6.     In its letters and documents, the Government has also relied upon
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comparative EBT data from other grocers. Myanmar Asian Inc. needs this data set that

supports the Government's comparative analysis. Without such data, Myanmar Asian

Inc. will suffer an extreme informational disadvantage, rendering it incapable of putting

forth a comprehensive defense to the Government's administrative action.

       I declare, under penalty of perjury, that the foregoing is true and correct.

July 8, 2020
                                                           /s/ Eric K. Schillinger___________
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